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  8                          UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
      WAYNE JEFFREY ULRICH, an             Case No.: 8:20−cv−01841 JLS (DFMx)
 10   individual,
                                           ORDER RE JOINT NOTICE OF
 11
                  Plaintiff,               DISMISSAL
 12         vs.
 13
      BMW NORTH AMERICA, LLC, and
 14 DOES 1 through 10, inclusive,

 15
                 Defendants.
 16

 17         Pursuant to the stipulation of the parties and Rule 41(a) of the Federal Rules of
 18   Civil Procedure, IT IS HEREBY ORDERED that Plaintiff’s action against Defendant
 19   BMW of North America, LLC, is dismissed in its entirety, with prejudice.
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 21   Dated: November 01, 2021
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 23                                          J O S E P H IN E L . S T A T O N
                                            ________________________________
 24                                         HON. JOSEPHINE L. STATON
                                            UNITED STATES DISTRICT JUDGE
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